          MEMO
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                                                                                    10/21/20




                                        October 20, 2020
VIA ECF

Hon. Andrew L. Carter, Jr.
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

       RE:     USA vs Christopher Lawrence
               Indictment 18-cr-420

Dear Judge Carter:

        Sentencing for this matter is scheduled for October 22, 2020. Mr. Lawrence is respectfully
requesting that his sentence be postponed until a time that he can be sentenced in-person and
without the requirement that he spend 2-weeks in quarantine after being produced in court. He
is not willing to waive his physical presence at his sentencing.

       AUSA Christopher Clore consents to the above, on behalf of the Government.

       Your Honor’s consideration of this sentencing adjournment request is greatly
appreciated.

                                     Respectfully submitted,      The application is granted.
                                     /s/Thomas Ambrosio           Sentencing adjourned to
                                     Thomas Ambrosio              March 18, 2021 at 10 a.m.
cc:    All counsel of record (via ECF)                            So Ordered.
       Christopher Lawrence (via CorrLinks)
                                                                                                     10/21/20




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